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                                                                                     FILED
                                                                                   U.S. DISTRICT COURT
                                                                               EASTERN DISTRICT ARKANSAS

                 IN THE UNITED STATES DISTRICT COURT        NOV 2 8 2018
                    EASTERN DISTRICT OF ARKANSAS
                         LITTLE ROCK DIVISION      -~~:MES ~ORMACK, CLERK
                                                                                                  DEP CLERK

PATRICIA WALKER-SWINTON                                                          PLAINTIFF

v.                                Case No.    4:}8-cv- 88,- KGB
PHILANDER SMITH COLLEGE, AND
DR. RODERICK SMOTHERS, SR., PRESIDENT,
IN ms INDIVIDIAL AND OFFICIAL CAPACITY,
AND DR. ZOLLIE STEVENSON, JR.,VICE-PRESIDENT,
ACADEMIC AFFAIRS, IN ms INDIVIDIAL AND
OFFICIAL CAPACITY                                                           DEFENDANTS


                                  I.     COMPLAINT

      Comes now the Plaintiff, by and through her attorney, Teresa Bloodman,

and for her Complaint states:

                            II.        NATURE OF THE CASE

     1. This is an employment discrimination case, brought pursuant to the

provisions of the Civil Rights Act of 1866, 42 U.S.C. §1981, as amended by the

Civil Rights Act of 1991 ("Section 1981 "); Title VII of the Civil Rights Act of

1964, 42 U.S.C. §§2000e, et seq., as amended ("Title VII"); the Arkansas Civil

Rights Act of 1993. The plaintiff alleges that the Defendants engaged in, and

continue to engage in, a pattern and practice of employment discrimination, both

intentional and systemic, on the basis.of gender and age against the plaintiff. The

Defendants' discriminatory practices include, but are not limited to harassment,

                                             1 This case assigned to District Judge     &ker
                                                and to Magistrate Judge ~~4"''l,c;..ifl----._ _ _ _ __
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and retaliation on the basis of gender, discrimination in job assignment, equal pay

and compensation as alleged in this complaint. The plaintiff seeks declaratory, and

equitable monetary relief from these practices; compensatory and punitive

damages; equitable remedies of accounting, restitution and disgorgement; and an

award of costs, expenses, and attorneys' fees.

                      m. JURISDICTION AND VENUE
      2.     This is an action to vindicate violations of the Plaintiffs' civil rights

and to redress the unlawful and discriminatory conduct and employment practices

of the Defendants. This is also an action for retaliation against the Plaintiff for

exercising certain statutory and constitutional rights arising out of Plaintiffs'

employment at the institution of the defendants.

      3.     This cause of action arises as a result of the termination from

Plaintiffs' employment base in whole or in part, upon her gender, female, and age,

47, in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

Section(s) 2000(e) et seq,, and the Civil Rights Act of 1866, as amended and 42

U.S.C. Sections 1981 and 1983, § 12112(b), Arkansas Civil Rights Act of 1993,

and to redress discrimination on grounds of gender and age and in the terms and

conditions of employment harassment, and retaliation, and equal pay and for back

and front pay, for declaratory relief, compensatory and punitive damages to redress

the deprivation of her rights from discriminatory and employment practices on the


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basis of gender and age including her wrongful termination on the basis of gender,

retaliation, age, equal pay, and attorney's fees and costs.

      4.       Jurisdiction of this Court is invoked pursuant to and in accordance

with 28 U.S.C. § 1343(3) and 28 U.S.C. § 1343{a) {4), which provides jurisdiction

of claims brought to enforce federal rights guaranteeing and providing equal

protection under the Constitution and the laws of the United States. The Court also

has jurisdiction pursuant to 28 U.S.C. § 1331, as well as 42 U.S.C. §2000e-5{f) (3).

      5.       This Court further has jurisdiction pursuant to section 706{f){3) of

Title VII, 42 U.S.C. §2000e{5){ c) and {f){3) and under Rule 18 of the Federal

Rules of Civil Procedure and pendent jurisdiction.

      6.       Venue is proper in this district pursuant to 28 U.S.C. §1391(c) and 42

U.S.C. §2000-5(f)(3). Philander Smith College is subject to personal jurisdiction

in this district in that it maintains an institution, facilities and business operations

in this district, employs or employed the plaintiff in this district, and committed the

discriminatory acts alleged herein in this district.

      7.       Intradistrict Assignment. Venue is proper in the Little Rock Division

of this Court pursuant to Local Rule 77.1 because a substantial part of the events

which give rise to the claims asserted in this complaint occurred in Pulaski County.

In particular, the defendant, Philander Smith College employed the plaintiff in its




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institution in Little Rock, Pulaski County, Arkansas, and there committed acts of

discrimination in employment as alleged in this complaint.

      8.      This court has both personal and subject matter jurisdiction.

      9.      The cause of action arose within the jurisdiction of the United

States District Court for the Eastern District of Arkansas. Further, this court has

jurisdiction as there is a federal question or controversy and pursuant to 28 U.S.C.

§ 1331 et seq., 42 U.S.C.§ 1981, 42 U.S.C. § 1983, 42 U.S. C. §§ 2000d. At all

times herein, the defendants were acting under color of State law. 42 U.S.C. §

1983. This Court also has pendent jurisdiction over the plaintiff's state law claim

asserted herein. That the Arkansas State Constitution, Article 14 provides to the

right of each and every eligible citizen or resident the right to an education, equal

access to an education and to equal protection as applied to the States under the

terms of the United States Constitution and the laws of the United States of

America.

      10.      The unlawful employment practices alleged below were committed

within the State of Arkansas, Pulaski County, Arkansas.




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                       IV. ADMINISTRATIVE PROCEDURE

       11.   Plaintiff, Patricia Walker-Swinton, filed charges against the

Defendants with the Little Rock, AR, Office of the Equal Employment

Opportunity Commission (hereinafter, EEOC) WITIIlN (180) days of the

occurrences of the acts, on which this complaint is based. · Plaintiff has received a

Right-to-Sue Letter from the Little Rock, AR Office of the EEOC in regard to this

claim for gender, and age discrimination and equal pay, and retaliation when her

employment was terminated. (Exhibit 1)

                                       V. PARTIES

       12.   Plaintiff, Patricia Walker-Swinton, is an African American, female,

aged forty-seven (4 7), who was an employee of the defendant, Philander Smith

College until her employment was terminated on or about June 27, 2018.

       13.   Plaintiff, Patricia Walker-Swinton, was an employee, instructor, at

Philander Smith College at the time of the actions complained of in this complaint.

       14. . Defendant Roderick Smothers, Sr., is a male employee of Philander

Smith College, the president, and acting individually and in his official capacities

at all times giving rise to this cause of action violated Plaintiffs' rights.

       15.   Defendant, Zollie Stevenson, Jr., is a male employee at Philander

Smith College, the vice president of Academic Affairs, and acting individually and




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in his official capacities at all times giving rise to this cause of action violated

Plaintiff's rights.

       16. Upon information and belief, the individually named Defendants reside

in Pulaski County.

       17. Upon information and belief, and at all times relevant hereto, the

College is an institution located within the State of Arkansas, organized, acting,

and existing pursuant to the laws of the State of Arkansas. At all relevant times,

Defendant College is located in Pulaski County, Arkansas and was the employer of

the individually named Defendants. At all relevant times, Defendant College had

the power, right, and duty to control the manner in which the individually named

Defendants carried out the objectives of their employment and to see that all

orders, rules, instructions, and regulations promulgated by the College were

consi$tent with the applicable state and federal laws and constitutions.

                                      VI.FACTS

       18.    Plaintiff restates and incorporates herein by reference the preceding

paragraphs of her Complaint as if fully set forth herein word for word.

       19.    In July 201, Plaintiff was hired by Philander Smith College

(hereinafter "PSC"), as a Reading and English coach.

       20.    Plaintiffs' contracted salary was $30,000 annually.

       21.    In August 2011, Plaintiffbegan additional employment positions


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serving as English and Reading Coach in the Academic Success Center and later as

sponsor of the cheer teams.

         22.   In May 2012, Plaintiff was promoted to full time English Instructor.

         22.   In the summer of 2012, Plaintiff created the college's cheer and dance

team known as the PSC Panther Dolls.

         23.   Plaintiffs' additional employment title was Director/ Coach of Cheer

and Dance.

         24.   Plaintiffs' stipend for the extra positions of Director/ Coach of

Cheer and Dance was $4,000.00 for the school year.

         25.   In August of 2012, Plaintiff received a raise to $34,000 as the English

Instructor.

         26.   During the fall semester 2013, Plaintiffs' supervisor was Dr. Hazel

Ervin.

         27.   In 2013, Plaintiff created the Division of General Education for PSC.

         28.   In the spring of 2014, Plaintiff was promoted to the Interim Chair

for the Division of General Education and appointed as the Writing Coordinator

for the Academic Success Center.

         29.   In January 2014, Plaintiff received a raise to $40,000.

         30.   In the summer of 2014, Plaintiff represented PSC as the English

Instructor for the Donaldson Scholars Program.


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         31.   In the 2014-2015, athletic season, Plaintiff received a stipend of

$4,000 serving as the "Director / Coach of Cheer and Dance" for the PSC Panther

Dolls.

         32.   In January 2015, defendant Smothers was hired as President of

Philander Smith College.

         33.   In the summer of 2015, Plaintiff was compensated $3,000.00 to teach

English in PSC's S.T.A.R.T. program.

         34.   In the summer of 2015, Chris Smith, a member of the college

leadership team used abusive language in the presence of defendant Smothers.

         35.   Mr. Smith was not terminated for this behavior.

         36.   In the fall of 2015, Plaintiff complained to defendant Smothers,

that she was not paid for duties she performed with S.T.A.R.T.

         37.   Beginning 2015-2018, Plaintiff complained that she was

not paid on time for her Director/Coach duties for PSC Panther Dolls.

         38.   Beginning 2015 through 2018, Plaintiff complained to defendant

Smothers and defendant Stevenson that she was not paid at the same rate as the

other younger male coaches that were similarly situated.

         39.   Beginning 2015 through 2018, Plaintiff complained to defendant

Smothers and defendant Stevenson that she was treated differently than the

similarly situated younger male coaches.


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      40.    In the 2015-2016, Plaintiff complained that she had not been paid

the $5,000 stipend for her Interim Chair duties.

      41.     In the summer of 2016, Plaintiff worked as an English instructor for

the S.T.A.R. T. and was paid $2,000 per class.

      42.     In the summer of 2016, Plaintiff served as Coordinator of Faculty &

Academics for the S.T.A.R.T. program and was compensated $5,000.

      43.    Throughout the 2016-2017, academic year, Plaintiff continuously

complained to the college after she was not paid for her "Director / Coach of Cheer

and Dance" duties with the PSC Panther Dolls; she was finally compensated after

the school year ended.

      44.     During the 2016-2017, academic year, Plaintiff did not receive the

$5,000 stipend for Interim Chair duties until after making complaint to the PSC

department chairs -thereafter receiving her stipend after the school year ended.

      45.     During the 2017, academic year, Plaintiff served as the Coordinator

for Faculty & Academics in the S.T.A.R.T. program and expected a stipend of

$5,000.

      46.     Philander Smith College breached the agreement to pay $5,000 to the

Plaintiff; instead paid her $3,000.

      4 7.    In August 2017, Plaintiff made complaints to defendant Stevenson

about the reduced payment.


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      48.     In September 2017, Plaintiff made complaints to defendant

Stevenson about not receiving her Interim Chair stipend.

      49.     In October 2017, after Plaintiffs' complaints regarding the reduced

stipend from the S.T.A.R.T. program and not receiving the Interim Chair stipend,

PSC removed Plaintiff from Interim Chair duties.

      50.     In February 2018, Plaintiff made complaints to defendant

Stevenson regarding the unresolved issues of non-payment for services rendered

and lack of equal pay for her job duties as Director of Cheer/Dance and Coach of

the PSC Panther Dolls.

      51.     During the March 29, 2018, Convocation, Defendant Smothers,

publicly "threatened" students by saying "I will personally put your asses on a bus

back to Louisiana." More than 25 attendees, including parents and students, heard

the statement.

      52.     In the Spring of 2018, Plaintiff made complaints to Nathan

Cochran, Office of the President, about PSC's failure to pay the stipend for

"Director / Coach of Cheer and Dance" duties with the Panther Dolls and the equal

pay issues.

      53.     On April 9, 2018, Plaintiff was threatened by a student, Jaylyn Morris

(hereinafter "Morris) in her classroom.




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      54.      The student threatened to "slap the fuck out of' Plaintiff and to "beat

her ass."

      55.      On April 9, 2018, Plaintiff notified defendant Smothers of the

classroom assault and threat against her life.

      56.      On April 9, 2018, Plaintiff contacted PSC Security Chief Arthur

Williams, and reported the classroom incident.

      57.      Chief Williams did not investigate Plaintiffs' complaint.

      58.       On or about April 10, 2018, Plaintiff was contacted by defendant

Stevenson to meet for discussion surrounding the classroom incident involving the

student's assault on Plaintiff.

      59.      The attendees in the meeting included Abtin Mehdizadegan, PSC

attorney, Defendant Stevenson, and Dr. Dakota Doman, Vice President of Student

Affairs.

      60.      On April 10, 2018, Plaintiff complained to defendant Stevenson of

concerns for her safety on the PSC campus and requested protection.

      61.      On or about April 10, 2018, Plaintiff advised Abtin Mehdizadegan

and defendant Stevenson of the existence of an audio video file of the classroom

incident and provided the name of students holding the video.

       62.      On or about April 23, 2018, after the college did nothing to address




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her safety concerns Plaintiff shared the classroom video with the Pulaski County

Prosecuting Attorney's Office seeking protection from Morris.

      63.   On June 27, 2018, Plaintiff was wrongfully discharged by PSC

because of complaints she made regarding unequal pay to that of her younger and

male co-workers.

      64. As a result of the Defendants actions, Plaintiff has suffered damages.

                            VD. CAUSE OF ACTION
                           VIOLATION OF TITLE VD
                              GENDER AND AGE


      65.    Plaintiff restates and incorporates herein by reference the preceding

paragraphs of her Complaint as if fully set forth herein word for word.

      66.    Plaintiff is an individual entitled to the protection of Title VII, and, as

a female, is protected against discrimination based on her gender.

      67.   Notwithstanding Plaintiff 'work history and dedication to the college,

she was discharged because of her gender in violation of Title VII of the Civil

Rights Act of 1964.

      68.    On July 30, 2015, Chris Smith, a male employee at PSC, used abusive

and offensive language in an angry tone, before a group - include Dr. Hazel Ervin,

Dr. Lois Sheer, Cynthia Fletcher, Kiandra Johnson, and Plaintiff.

      69.   Chris Smith was not terminated for his inappropriate actions and

conduct.
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      70.      On March 29, 2018, during Commencement, defendant Smothers,

male employee at PSC, used abusive and offensive language in an angry tone in

front of a group.

      71.      Defendant Smothers was not terminated for his inappropriate actions

and conduct.

      72.      Multiple male administrators, faculty, coaches, and staff have used

profanity towards their students without discipline or termination retribution.

      73.      Plaintiff's complaints of pay equity, late pay, and hostile work

environment harassment were not addressed.

      74.      Defendant Smothers and defendant Stevenson discriminated

against Plaintiff by requiring she to do additional duties without the same pay as

her fellow male employees similarly situated.

      75.      Other instructors have traditionally and historically been treated more

favorable than Plaintiff.

      76.      The disparate treatment was based upon gender and age.

      77.      The above is another example of the favoritism shown to other

instructors in an effort to permit them to complete and fulfill their employment job

descriptions and duties of instructor and coaching while denying the same

opportunity to Plaintiff.

       78.     Plaintiff, was not permitted to receive a budget for the two (2)
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cheer and dance teams that she coached.

      79.   Plaintiff accompanied the cheer team to PSC basketball games and

was required to pay lodging and meal costs and refunded afterwards.

      80.   That Plaintiff, was not permitted a budget because of the arbitrary,

and capricious decisions by the administration, and defendant Smothers and

defendant Stevenson.

      81.   The younger male coaches received an annual budget for the

basketball teams which covered expenses and costs.

      82.   The younger volleyball coaches received an annual budget for the

volleyball teams which covered expenses and costs.

      83.   That the male coaches for basketball are younger than Plaintiff.

      84.   That the coaches for volleyball are younger than Plaintiff.

      85.   On June 27, 2018, notwithstanding Plaintiff's work history and

dedication to the College, the defendant PSC, defendant Smothers and defendant

Stevenson discharged Plaintiff because of her age and gender.

      86.   As a result of the Defendant's actions, Plaintiff has suffered damages.

                           VIIl. CAUSE OF ACTION
                          VIOLATION OF TITLE VII
                                 PAY EQUITY

      87.   Plaintiff restates and incorporates herein by reference the preceding

paragraphs of her Complaint as if fully set forth herein word for word.

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      88.   Plaintiff worked under Dr. Hazel Ervin, Vice President of Academic

Affairs and received excellent performance ratings.

      89.    Plaintiff received a promotion to become Writing Coordinator of

Academic Success, Interim Chair for Division of General Education, Donaldson

Scholar's English instructor to represent the college, and S.T.A.R.T. Faculty &

Academics Coordinator by Dr. Hazel Ervin, Vice President of Academic Affairs

because of her sterling performance.

      90.    Dr. Hazel Ervin, Dr. Lois Sheer (Chair for the Division of General

Education), and Defendant Stevenson praised Plaintiff on numerous occasions for

her excellent job performance.

      91.    Plaintiff has also complained to Dr. Frank James about Defendants'

failure to pay her entire amounts agreed.

      92.    Plaintiff complained to Defendant Stevenson about the college

reducing amount promised.

      93.    Plaintiff served as a coach to a college organization known as the

PSC Panther Dolls.

      94.    Plaintiff complained to the Nathan Cochran, Athletic Director, that

the stipend she received for coaching the Panther Dolls was $2,000 less than the

agreed amount.




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      95.    Plaintiff complained to defendant Smothers, defendant Stevenson and

Nathan Cochran, that she was not being compensated as the younger male coaches.

      96.    Plaintiff complained to defendant Smothers, defendant Stevenson and

Nathan Cochran, that she did not receive a coaching budget as the younger male

coaches.

      97.    Plaintiff complained to defendant Smothers, defendant Stevenson and

Nathan Cochran, that she was being treated differently than as the younger male

coaches.

      98.     Plaintiff continued to complain about pay equity throughout June

27, 2018.

      99.    Defendant Smothers, defendant Stevenson and Nathan Cochran, failed

and refused to address or correct the disparities.

      100. In April 10, 2018, Plaintiff alerted the President and the Vice

President of Academic Affairs of the dangerous classroom episode she

encountered with Morris.

       101. On June 27, 2018, Plaintiff was discharged because of complaints

made regarding unequal pay to that of her younger and male co-workers.

      102. As a result of the Defendants actions, Plaintiff has suffered damages.




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                            IX. CAUSE OF ACTION
                          VIOLATION OF TITLE VD
                              HARASSMENT

      103. Plaintiff restates and incorporates herein by reference the preceding

paragraphs of her Complaint as if fully set forth herein word for word.

      104. On April 9, 2018, the Plaintiff reported the dangerous classroom

incident she encountered with Moms to Chief of Security Williams.

      105. On April 9, 2018, Plaintiff complained about the dangerous classroom

incident she encountered with Moms to defendant Smothers.

      106.   On April 10, 2018, Plaintiff complained to defendant Stevenson

about the dangerous classroom incident she encountered with Moms.

      107.   During the month of April 2018, Plaintiff was not given due process

regarding a full investigation regarding the dangerous classroom incident she

encountered with Moms.

      108.   In April 2018 and into ofMay 2018, Plaintiff was further endangered

by the presence of Jaylyn Moms after she reported her concerns to the

administration.

      109. On April 13, 2018, Plaintiff reported her concerns to the Pulaski

County Attorney's office after the defendants failed to fully investigate the incident

between Plaintiff and Moms.

      110. The Defendants failed to provide a safe work environment for


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Plaintiff.
       111. Following Plaintiffs' complaints the Defendants further harassed

Plaintiff by entering Plaintiffs' email, locking her out of her email, searching her

desktop computer and cellular telephone without her permission, and making

threats of termination.

       112. On June 27, 2018, Plaintiff was issued a Letter of Termination.

       113. The actions to discharge the Plaintiff were based upon the numerous

complaints she made related to the incident involving the verbal abuse she received

from Morris.

       114. On June 27, 2018, Plaintiff was discharged because of complaints she

made regarding unequal pay to that of her younger and male co-workers.

       115. As a result of the Defendants actions, Plaintiff has suffered damages.

                             X. CAUSE OF ACTION
                           VIOLATION OF TITLE VD
                                 RETALIATION

       116. Plaintiff restates and incorporates herein by reference the preceding
paragraphs of her Complaint as if fully set forth herein word for word.

       117.    That on June 27, 2018, because of Plaintiff's complaints of

discrimination involving gender and age, pay equity, late pay, unsafe work

environment, hostile work environment and harassment -none of which was




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addressed - defendant PSC, defendant Smothers and defendant Stevenson

retaliated and discharged Plaintiff.

         118. On July 31, 2012, Plaintiff filed a timely EEOC complaint and

received a Notice of Right to Sue dated August 30, 2018. (Exhibit 1)

                             XI.PRAYER FOR RELIEF

         119.   As relief for the above described violations, Plaintiff requests that this

Court:

A. Grant a declaratory judgment that the actions taken against Plaintiff were

gender and age discrimination in violation of the Title VII and the ACRA;

B. Grant a declaratory judgment that the actions taken against Plaintiff were

interference with and in retaliation for her exercise of protected rights;

C. Award Plaintiff her back pay, front pay, pre-judgment and post-judgment

interest, liquidated damages, attorney's fees, costs, and other such sums as will

make her whole for the unlawful actions taken against her;

D. Grant Plaintiff injunctive relief enjoining Defendant from further acts of

discrimination and retaliation against her and other employees;

E. Award Plaintiff compensatory damages for pecuniary losses, emotional pain and

suffering, inconvenience, mental anguish, and loss of enjoyment of life due to the

illegal acts taken against her; and




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F. A ward Plaintiff punitive damages for malice and reckless indifference to her

federally and state protected rights.

      120.    Plaintiff demands a trial by jury.

      121. State and Federal jurisdiction against each ofthe defendants,jointly

and severely. Plaintiff prays for compensatory damages in an amount of at least

$100,000.00 from each defendant or an amount to be determined at the trial of this

matter and punitive damages.

       122. Plaintiff demands a jury trial.

      WHEREFORE, Plaintiff, Patricia Walker-Swinton, requests that this Court

enter judgment against Defendants, Philander Smith College and other named

Individual Defendants; Plaintiff has been injured by the Defendants' violations of

Title VII of the Civil Rights Act of 1964; violations of the Arkansas Civil Rights

Act of 1993; and Plaintiff prays for declaratory relief, attorneys' fees and costs in

the bringing of this action and all other equitable, legal proper and just relief.

                                  Respectfully submitted,

                                  PATRICIA WALKER-SWINTON, PLAINTIFF



                           BY: Tnodman,#2005055
                               Attorney for the Plaintiff
                               P.O. Box 13641
                               Maumelle, AR 72113
                               (870) 550-1940 - Direct
                               teresabloodman@yahoo.com
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                         CERTIFICATE OF SERVICE
      I, Teresa Bloodman, do hereby certify that a true and correct copy of the
foregoing Complaint was filed on the 28th day of November, 2018, with the Clerk
of Court and copies will be served on:
Dr. Roderick Smothers, Sr., President
Philander Smith College
900 Daisy Bates Drive
Little Rock, AR 72202

Dr. Zollie Stevenson, Jr., Vice President of Academic Affairs
Philander Smith College
900 Daisy Bates Drive
Little Rock, AR 72202




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 EEOC Fam, 161 (11/16)                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                 DISMISSAL AND              NOTICE OF          RIGHTS
To:     Patricia Walker-Swinton                                                        From:    Little Rock Area Office
       #1 Robyn Lane                                                                            820 Louisiana
       Little Rock, AR 72223                                                                    Suite 200
                                                                                                Little Rock, AR 72201


      D                     On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601. 7(a))
EEOC Charge No.                             EEOC Representative                                                         Telephone No.
                                                Margie Myers,
493-2018-01898                                  Investigator                                                            (501) 324-6214
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
      D          The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

      D          Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

      D          The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

      D          Your charge was not timely filed with EEOC; In other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
      [KJ        The EEOC issues the following determination: Based upon Its investigation, the EEOC ls unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
      D          The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

      D          Other (briefly state)


                                                         • NOTICE OF SUIT RIGHTS •
                                                   (See the additional information attached to this form.}

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be flied WITHIN 90 OAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violation• that occurred         more than 2 Yff!I (3 Y••m>
before you file suit may not be collectlble.



                                                          ~ ~QA,,
                                                                     On behalf of the Commission

                                                       /Jo_                                                                AUG    a oma
Enclosures(s)
                                                        v  mmnri:caah, Jr.,                                                   (Date Mailed)
                                                                 Area Office Director
cc:
            Yolanda Coleman                                                          Teresa Bloodman
            Director of Human Resources                                              Attorney At Law
            PHILANDER SMITH COLLEGE                                                  P.O. Box 13641
            900 Daisy Bates Drive                                                    Maumelle, AR 72113
            Little Rock, AR 72202
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 ~ER SMITH        COLLEGE
                            E$1'U11




June 27, 2018

Patricia Walker-Swinton
8516 Chickamauga Court
MabelvaJe, AR 72103

       RE: Notice of Termination for Cause

Dear Ms. Walker-Swinton,

       This letter will confinn our discussion regarding your future employment with Philander
Smith College. Specifically, your employment with the College is, effective immediately, hereby
terminated for cause.

         Your conduct stemming from the April 9, 20 J8 incident in your classroom, which included
using a disability-related slur ("damn r"'***d") in the course of addressing your class, was highly
inappropriate, unprofessional, and violated the College's General Harassment Policy Statement,
which provides that harassment against any person on the basis of disability, among other things,
is a serious offense that can result in severe disciplinary meas~s, including termination. Then,
when asked if you thought that the term ""r****d" was appropriate for the classroom, you stated.
that, in your opinion, nothing was inappropriate about the manner in which you addressed your
class. You additionally failed to disclose material information in the course of the College's
investigation, attempted to conceal facts by deleting What's App and Group Me messages, then
directed students as to what to include in their witness statements, and altered one witness's
statement without that individual's knowledge or consent. Your lack of contrition in the manner
in which you conducted yourself, and your failure to fully cooperate with the investigation,
demonstrates that you lack the appropriate judgment to execute the awesome power of educating
our students. You failed to meet the College's reasonable and legitimate expectations of your
employment, and as a result, the President has empowered me dismiss you for cause immediately.

        Please ensure that all of the College's property, documents, records, and other items that
are in your actual or constructive possession, custody, or control (including but not limited to keys,
parking permit, equipment, computers, student records, notes, or other items that were used in the
course of your employment) are returned to the Office of Human Resources immediately. You will
be receiving information from the Office of Human Resources regarding the continuation of
certain benefits. If you have any questions about benefits or your final paycheck, please contact
the Office of Human Resources.



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                                              Zolhe Stevenson, Jr., Ph.D.


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